Case 5:17-cv-01346-RG.]-I\/|LH Document 29 Filed 12/07/17 Page 1 of 5 Page|D #: 652

UN|TED STATES DISTR|CT COURT
WESTERN D|STR|CT OF LOU|S|ANA
SHREVEF’ORT DlV|S|ON

SHREVEPORT CHAPTER #237 OF C|V|L ACT|ON NO. 17-CV-O1346
THE UN|TED DAUGHTERS OF THE
CONFEDERAC\’
VERSUS JUDGE JAlVlES
THE CADDO PAR|SH COlVllSSlON, MAGlSTRATE JUDGE HORNSBY
ET AL

DEFENDANT’S MEN|ORANDUN| lN RESPONSE TO PLA|NT|FF’S MOTION
FOR DEFAULT JUDGENIENT, NlOT|ON FOR LEAVE TO F|LE |TS ANSWER
OUT OF T|ME, PROPOSED ORDER AND ANSWER TO COMPLA|NT

NOW |NTO COURT, through its undersigned counsel, comes the Caddo
Parish Commission Who asks the Court to deny plaintist motion for default

judgment and grant defendant leave to file its answer out of time.

A. lNTRODUCTlON

1. P|aintiff is Shreveport Chapter #237 of the United Daughters of the
Confederacy.

2. P|aintiff sued defendant pursuant to 42 U.S.C. §1983 and 1988 for
declaratoryjudgment, injunctive relief, nominal damages, punitive
damages and attorney’s fees to redress alleged violations of the plaintiffs
rights as protected by the First1 Fifth and Fourteenth Amendments of the

U.S. Constitution.

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3. On December 7, 2017, plaintiff filed a motion and request for default

judgment
4. At the time of this filingl a default judgment has not been entered.
5. Defendant Caddo Parish Commission attaches its original answer to this

motion. The filing of defendants original answer is conditioned on the
denial of the motion/request for default judgment and the granting of this

motion for leave to fi|e.

B. ARGUMENT

A|though a court may render a defau|tjudgment against a party who has
not filed a responsive pleading or othenNise defended the suit, this is not a case
in which the Court should do so.

1. An Answer Has Been Filed

Upon receiving a copy of Plaintiff's Request and lVlotion for Default
Judgment, Defendant filed an original answer. This answer was filed prior to
entry of any default judgment and on the same day as Plaintiff's request for
defaultl The Fifth Circuit has held that the court can refuse an entry of default
Where an answer has been filed and Plaintiff cannot show prejudice from any
delay in filing. Mason 8¢ Hanger-Silas Mason Co. v. ill/fetal Traoles Council, 726
F.2d 16 (5th Cir. 1984). There has been no showing of prejudice to the defendant
by the late filing of an answerl particularly since defendant has filed responses to

the portion of the complaint requesting preliminary injunction

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2. The Defendants have Taken Action to Otherwise Defend

Default judgment against defendant is improper because the defendant
showed an intent to defend the suit. The individual defendants have filed a
lVlotion to Dismiss pursuant to Rule 12(b)(6) which, per the rules of procedure,
had to be filed prior to any other pleadings As stated above1 all defendants have
filed an Objection to the Request for Preliminary injunction and Supporting
Nlemorandum. Additionally, all defendants, including the_Caddo Parish
Commission have participated in telephone conferences before the Court on
October 23, 2017 and December 1, 2017. The Fifth Circuit has held that
participating in a conference before the Court is an action that shows an intent to
defend. New York Lffe Ins. v. Brown, 84 F.3d 137 (5"‘ Cir. 1996).

C. CONCLUS|ON

Because Defendants have filed an answer prior to entry of default and
demonstrated a clear intent to defend the lawsuit, and because late filing of
an answer does not prejudice the Plaintiff, Defendant Caddo Parish
Commission respectfully requests this Court to grant leave to file the
attached Answer to the Complaint out of time. Further, Defendant requests

that the Court deem the Answer to be filed as of this date.

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Respectfully submitted,

OFF|CE OF THE PAR|SH ATTORNEY
PARISH OF CADDO

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ATTORNE¥S FOR DEFENDANTS

 

CERT|F|CATE OF SERVICE

l certify that a copy of the foregoing was served on counsel of record in
this matter via Cl\/l/ECF on December 7, 2017.

Dick “Dave" Knadler
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s/Donna Y. Frazier
Ol'-' COUNSEL

 

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UN|TED STATES D|STRICT
COURT
WESTERN DlSTRlCT OF
LOU|S|ANA SHREVEPORT
DlVlSION

SHREVEPORT CHAPTER #237 OF C|VlL ACT[ON NO. 17-CV-O1346
THE UN|TED DAUGHTERS OF THE

CONFEDERACY

VERSUS JUDGE JAMES

THE CADDO PAR]SH COlVl|SS|ON, MAG|STRATE JUDGE HORNSBY
ET AL

ORDER

The foregoing lVlemorandum in Response to Plaintiff's lVlotion for Default
Judgment having been considered, and good cause having been shown for the
relief requested therein1

lT IS HEREBY ORDERED that |Vlotion for Default Judgment is hereby
DEN|ED, and Defendant Caddo Parish Commission is GRANTED leave to file its
answer out of time.

THUS DONE AND SlGNED in , Louisiana, on this the

day of , 2017.

 

JUDGE

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